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 EXHIBIT “D”
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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

EVA ROBERTS,                             §
     Plaintiff,                          §
                                         §
v.                                       §                     1:19-cv-855
                                             CIVIL ACTION NO. _____________
                                         §
RUCKER RESTAURANT HOLDINGS               §
LLC and RRH-AUSTIN, LLC,                 §
     Defendants.                         §

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